    Case 2:12-cv-00144-J Document 1 Filed 06/27/12               Page 1 of 20 PageID 1



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION


VICTOR SANCHEZ, JR., on behalf of himself §
and all others similarly situated,             §
                                               §
        Plaintiff,                             §
                                               §
V.                                             §    CIVIL ACTION NO. __________________
                                               §
SUPERIOR SYSTEMS & TECHNOLOGIES, §
L.L.P. (a/k/a Superior Systems & Technologies, §
LLP and Superior Systems & Technologies,       §
LTD), RODNEY SHANK, SAM PEACOCK, §
AND DIETRICH FAMILY, L.P.

       Defendants.

                         PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff Victor Sanchez, Jr. (“Plaintiff”), on behalf of himself and all others similarly

situated, files this Original Complaint against Superior Systems & Technologies, L.L.P. (a/k/a

Superior Systems & Technologies, LLP and Superior Systems & Technologies, LTD)

(collectively “SST”), Rodney Shank (“Shank”), Sam Peacock (“Peacock”), and Dietrich Family,

L.P. (“Dietrich”) (collectively “Defendants”) showing in support as follows:

       I.     INTRODUCTION

       1.     This is a lawsuit to recover unpaid overtime back wages under the federal Fair

Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq., on behalf of Plaintiff and other

similarly situated laborers employed by Defendants from June 27, 2009 forward.

       2.     Plaintiff and the putative class members worked as laborers in Defendants’ “metal

fabrication” business. Defendants’ business primarily involved manufacturing, repairing and

assembling equipment in connection with commercial generator power units. These generator



                                                              Original Complaint - Page 1 of 20
     Case 2:12-cv-00144-J Document 1 Filed 06/27/12                Page 2 of 20 PageID 2



power units/services related to generator power units were provided to customers in Texas and

other states.

        3.      Defendants violated the FLSA overtime wage requirements because they

attempted to artificially divide the work of Plaintiff and the putative class members into “on-the-

clock” work and “contract” work, and generally limited the “on-the-clock” work to 40 hours per

workweek. However, the performance of the so-called “contract” work resulted in Plaintiff and

the putative class members regularly working in excess of 40 hours per workweek. In fact, it

was common for the workweek to be 80 hours or more when both “on-the-clock” and “contract”

work was performed by Plaintiff and the putative class members. Despite regularly working

more than 40 hours per workweek, Plaintiff and the putative class members were never paid

overtime compensation as required by the FLSA. There was no material difference in the job

duties or business purpose involved in those two artificial categories of work. All such work was

directly related to Defendants’ “metal fabrication” generator power unit business. All hours

performed for that “work” should be factored in determining the number of hours worked per

workweek by Plaintiff and the putative class members.

        4.      Plaintiff seeks certification of a FLSA collective action for all similarly situated

laborers employed by Defendants from June 27, 2009 forward who, like Plaintiff, were not paid

overtime compensation for each and every hour worked over 40 in each and every workweek.

        5.      Plaintiff and the putative class members seek back overtime wages, liquidated

damages, legal fees and costs from Defendants.




                                                                Original Complaint - Page 2 of 20
     Case 2:12-cv-00144-J Document 1 Filed 06/27/12                Page 3 of 20 PageID 3



       II.     THE PARTIES, JURISDICTION AND VENUE

               A.      Victor Sanchez, Jr.

       6.      Plaintiff, Victor Sanchez, Jr., is a former employee of Defendants and is a natural

person who resides in Abilene, Texas. He has standing to file this lawsuit. He worked as a

laborer for Defendants at their Merkel, Texas location from approximately late 2007 to July

2009, and again from approximately December 2010 to June 2012. Plaintiff was engaged in

commerce or the production of goods for commerce during every workweek while employed by

Defendants.

               B.      Putative Class Members

       7.      The putative collective action members are current and former employees of

Defendants with the primary job duties described in Paragraphs 37-38 herein who are/were

employed by Defendants from June 27, 2009 forward. All of the putative collective action

members are similarly situated to Plaintiff and to one another within the meaning of Section

216(b) of the FLSA. Like Plaintiff, the putative plaintiffs were engaged in commerce or the

production of goods for commerce during every workweek while employed by Defendants.

               C.      Superior Systems & Technologies, L.L.P. a/k/a Superior Systems &
                       Technologies, LLP and Superior Systems & Technologies, LTD

       8.      Defendant Superior Systems & Technologies, L.L.P. is a former Texas limited

liability partnership. Plaintiff incorporates by reference as if fully set forth herein the detailed

allegations regarding the SST business entity set forth in Paragraphs 40-44 below. SST failed to

list a registered agent with the Texas Secretary of State but listed Peacock and Dietrich as two of

the three general partners in its most recent filing with the Texas Secretary of State.1



1
 Exhibit A – October 13, 2010 Form 701 Registration of a Limited Liability Partnership for
“Superior Systems & Technologies, L.L.P.” filed with the Texas Secretary of State.
                                                                Original Complaint - Page 3 of 20
     Case 2:12-cv-00144-J Document 1 Filed 06/27/12                  Page 4 of 20 PageID 4



Furthermore, SST’s limited liability partnership lapsed on October 13, 2011.2 Accordingly,

service of process may be accomplished by serving Sam Peacock, 274 County Road 287,

Merkel, Texas 79536 or the Dietrich Family, LP via its registered agent, Ms. Ann Dietrich, 7001

Colleyville Blvd, Colleyville, Texas 76034. SST is/was an employer pursuant to the FLSA.

Alternatively, SST is/was a joint employer pursuant to the FLSA.

               D.      Rodney Shank

       9.      Defendant Rodney Shank is a natural person and citizen of the state of Texas

residing in Ochiltree County, Texas. Rodney Shank may be served with process at

1410 S Grinnell Street, Perryton, Texas 79070.

       10.     Plaintiff incorporates by reference as if fully set forth herein the allegations in

Paragraphs 40-44 below.

       11.     Shank has/had operational control over compliance with the FLSA for SST.

Shank’s responsibilities include/included hiring, firing, job duties, compensation, finances,

employee performance evaluations and compliance with the overtime pay requirements of the

FLSA for Plaintiff and similarly situated employees.

       12.     Shank has/had economic control over the ultimate decisions made by SST, and

individuals acting on behalf of SST with regards to compliance with the FLSA. Shank was

frequently present in the business location where Plaintiff and similarly situated employees

worked where he exercised his duties as an owner/officer of SST. As such, Shank knew or

should have known that: Plaintiff and similarly situated employees were working more than 40

hours per workweek; that Plaintiff and similarly situated employees, as non-exempt employees,



2
 Exhibit B – Texas Secretary of State business record showing that Superior Systems &
Technologies, L.L.P. became inactive on October 13, 2011.


                                                                  Original Complaint - Page 4 of 20
     Case 2:12-cv-00144-J Document 1 Filed 06/27/12                 Page 5 of 20 PageID 5



were entitled to overtime compensation for all hours worked over 40 in a workweek; and that

Plaintiff and similarly situated employees were not being paid overtime premiums for their

overtime hours. Despite having the clear and undisputable authority and operational control as

an owner/officer to ensure compliance with the FLSA, Shank failed to take sufficient action to

ensure compliance.

       13.     Shank is an employer pursuant to the FLSA. Alternatively, Shank is a joint

employer pursuant to the FLSA.

       14.     Furthermore, and as set forth in detail in Paragraphs 40-44 herein, Shank is also

individually responsible for the damages claimed in this lawsuit from the time period of June 26,

2009 to September 14, 2009 because the SST business entity was not legally formed as a limited

liability partnership during that time period. When the SST entity was formed in 2005, it was

named “Superior Systems & Technologies, LTD.”3 However, Texas law requires that for an

entity to be formed as a limited liability partnership, it must contain in its name one of the

following – “limited liability partnership,” “LLP” or “L.L.P.” Tex. Bus. Orgs. Code §§ 5.063(a),

152.802(a), 152.803. The SST entity in existence from June 26, 2009 to September 14, 2009 did

not use any of the foregoing terms. Instead, SST used the abbreviation “LTD” in its name. As

such, no limited liability partnership was created pursuant to Texas law and the purported

partners of SST during the time period of June 26, 2009 to September 14, 2009 are individually

liable for damages claimed in this lawsuit.

       15.     Additionally, although the SST entity was apparently properly registered as a

“LLP” and “L.L.P.” on and after September 14, 2009, SST’s limited liability partnership status



3
 Exhibit C - April 4, 2005 Form 701 Registration of a Limited Liability Partnership for Superior
Systems & Technologies, LTD filed with the Texas Secretary of State.


                                                                 Original Complaint - Page 5 of 20
     Case 2:12-cv-00144-J Document 1 Filed 06/27/12                  Page 6 of 20 PageID 6



lapsed with the state of Texas on October 13, 2011.4 Accordingly, the partners of that entity are

also individually responsible for the damages claimed in this lawsuit for the time period of

October 13, 2011 forward. On information and belief, Shank was a partner of SST from the time

period of October 13, 2011 forward.

               E.      Sam Peacock

       16.      Defendant Sam Peacock is a natural person and citizen of the state of Texas

residing in Taylor County, Texas. Peacock may be served with process at 274 County Road

287, Merkel, Texas 79536.

       17.     Plaintiff incorporates by reference as if fully set forth herein the allegations in

Paragraphs 40-44 below.

       18.     Peacock has/had operational control over compliance with the FLSA for SST.

Peacock’s responsibilities include/included hiring, firing, job duties, compensation, finances,

employee performance evaluations and compliance with the overtime pay requirements of the

FLSA for Plaintiff and similarly situated employees.

       19.     Peacock has/had economic control over the ultimate decisions made by SST, and

individuals acting on behalf of SST with regards to compliance with the FLSA. Peacock was

frequently present in the business location where Plaintiff and similarly situated employees

worked where he exercised his duties as an owner/officer of SST. As such, Peacock knew or

should have known that: Plaintiff and similarly situated employees were working more than 40

hours per workweek; that Plaintiff and similarly situated employees, as non-exempt employees,

were entitled to overtime compensation for all hours worked over 40 in a workweek; and that

Plaintiff and similarly situated employees were not being paid overtime premiums for their

4
 Exhibit B – Texas Secretary of State business record showing that Superior Systems &
Technologies, L.L.P. became inactive on October 13, 2011.
                                                                  Original Complaint - Page 6 of 20
     Case 2:12-cv-00144-J Document 1 Filed 06/27/12                  Page 7 of 20 PageID 7



overtime hours. Despite having the clear and undisputable authority and operational control as

an owner/officer to ensure compliance with the FLSA, Peacock failed to take sufficient action to

ensure compliance.

       20.     Peacock is an employer pursuant to the FLSA. Alternatively, Peacock is a Joint

Employer pursuant to the FLSA.

       21.     When the SST entity was formed in 2005, it was named “Superior Systems &

Technologies, LTD.”5 However, Texas law requires that for an entity to be formed as a limited

liability partnership, it must contain in its name one of the following – “limited liability

partnership,” “LLP” or “L.L.P.” Tex. Bus. Orgs. Code §§ 5.063(a), 152.802(a), 152.803. The

SST entity in existence from June 26, 2009 to September 14, 2009 did not use any of the

foregoing terms. Instead, SST used the abbreviation “LTD” in its name. As such, no limited

liability partnership was created pursuant to Texas law and the purported partners of SST during

the time period of June 26, 2009 to September 14, 2009 are individually liable for damages

claimed in this lawsuit. There were two partners during that time period, and one of those

partners is known to be Shank.6 While the identity of the second partner during that time period

is currently unknown, to the extent that second partner is Peacock, then Plaintiff alleges that

Peacock is individually liable for damages claimed in this lawsuit during the time period of June

26, 2009 to September 14, 2009.

       22.     Additionally, although the SST entity was apparently properly registered as a

“LLP” and “L.L.P.” on and after September 14, 2009, SST’s limited liability partnership status


5
 Exhibit C - April 4, 2005 Form 701 Registration of a Limited Liability Partnership for Superior
Systems & Technologies, LTD filed with the Texas Secretary of State.
6
 Exhibit D – May 29, 2008 Renewal of Registration of a Limited Liability Partnership for
Superior Systems & Technologies, LTD filed with the Texas Secretary of State.


                                                                  Original Complaint - Page 7 of 20
     Case 2:12-cv-00144-J Document 1 Filed 06/27/12                  Page 8 of 20 PageID 8



lapsed with the state of Texas on October 13, 2011.7 Accordingly, the partners of that entity are

also individually responsible for the damages claimed in this lawsuit for the time period of

October 13, 2011 forward. According to business records filed with the Texas Secretary of

State, Peacock was a partner of SST from the time period of October 13, 2011 forward.8

               F.      Dietrich Family, L.P.

       23.     Defendant Dietrich Family, L.P. is a Texas limited partnership with its registered

office at 7001 Colleyville Boulevard, Colleyville, Tarrant County, Texas 76034. Dietrich may

be served with process by serving its registered agent, Ann Dietrich, at 7001 Colleyville

Boulevard, Colleyville, Texas 76034.

       24.     Plaintiff incorporates by reference as if fully set forth herein the allegations in

Paragraphs 40-44 below. Texas law requires that for an entity to be formed as a limited liability

partnership, it must contain in its name one of the following – “limited liability partnership,”

“LLP” or “L.L.P.” Tex. Bus. Orgs. Code §§ 5.063(a), 152.802(a), 152.803. The SST entity in

existence from June 26, 2009 to September 14, 2009 did not use any of the foregoing terms.

Instead, SST used the abbreviation “LTD” in its name. As such, no limited liability partnership

was created pursuant to Texas law and the purported partners of SST during the time period of

June 26, 2009 to September 14, 2009 are individually liable for damages claimed in this lawsuit

during that time period. There were two partners during that time period, and one of those

partners is known to be Shank.9 While the identity of the second partner during that time period



7
 Exhibit B – Texas Secretary of State business record showing that Superior Systems &
Technologies, L.L.P. became inactive on October 13, 2011.
8
 Exhibit A – October 13, 2010 Form 701 Registration of a Limited Liability Partnership for
“Superior Systems & Technologies, L.L.P.” filed with the Texas Secretary of State.
9
 Exhibit D – May 29, 2008 Renewal of Registration of a Limited Liability Partnership for
Superior Systems & Technologies, LTD filed with the Texas Secretary of State.
                                                                  Original Complaint - Page 8 of 20
     Case 2:12-cv-00144-J Document 1 Filed 06/27/12                 Page 9 of 20 PageID 9



is currently unknown, to the extent that second partner is Dietrich, then Plaintiff alleges that

Dietrich is individually liable for damages claimed in this lawsuit during the time period of June

26, 2009 to September 14, 2009 and that Dietrich was an employer/joint employer pursuant to

the FLSA during that time period.

       25.     Additionally, although the SST entity was apparently properly registered as a

“LLP” and “L.L.P.” on and after September 14, 2009, SST’s limited liability partnership status

lapsed with the state of Texas on October 13, 2011.10 Accordingly, the partners of that entity are

also individually responsible for the damages claimed in this lawsuit for the time period of

October 13, 2011 forward. According to business records filed with the Texas Secretary of

State, Dietrich was a partner of SST from the time period of October 13, 2011 forward.11

Furthermore, from the time period of October 13, 2011 forward, Dietrich is an employer/joint

employer pursuant to the FLSA.

               G.      Jurisdiction and Venue

       26.     The Court has personal jurisdiction over Defendants based on both general and

specific jurisdiction. During all times relevant to this lawsuit, Defendants have done business in

the state of Texas, and with the exception of SST whose limited liability partnership status lapsed

on October 13, 2011,12 continue to do business in the state of Texas.

       27.     At all times relevant to this lawsuit, Defendants have employed more than two

employees and are engaged in interstate commerce. As set forth in more detail in Paragraph 30


10
  Exhibit B – Texas Secretary of State business record showing that Superior Systems &
Technologies, L.L.P. became inactive on October 13, 2011.
11
  Exhibit A – October 13, 2010 Form 701 Registration of a Limited Liability Partnership for
“Superior Systems & Technologies, L.L.P.” filed with the Texas Secretary of State.
12
  Exhibit B – Texas Secretary of State business record showing that Superior Systems &
Technologies, L.L.P. became inactive on October 13, 2011.


                                                                 Original Complaint - Page 9 of 20
   Case 2:12-cv-00144-J Document 1 Filed 06/27/12                 Page 10 of 20 PageID 10



below, Defendants provide goods and services in interstate commerce in connection with their

“metal fabrication” business. On information and belief, Defendants have annual gross sales or

business volume in excess of $500,000 in connection with the employment of Plaintiff and the

putative class members in Defendants’ “metal fabrication” generator power unit business.

       28.     The Court has subject matter jurisdiction over this case based on federal question

jurisdiction because Plaintiff bases his claim and the claims on behalf of the putative collective

action members on federal law, 29 U.S.C. § 201, et seq.

       29.     Venue is proper in the Northern District of Texas because Defendants maintain

business operations in the Northern District of Texas and Defendants reside within the

boundaries of the Northern District of Texas. Venue is proper in the Amarillo Division of the

Northern District of Texas because Defendant Shank resides within the Amarillo Division (see

Paragraph 9 above) and SST maintained business operations in Amarillo, Texas during the time

period relevant to this lawsuit (see Paragraphs 40-42 below).

       III.    FACTS

               A.     FLSA Violations as to Plaintiff and the Putative Class Members

       30.     Defendants operate a metal fabrication business, and during the time period

relevant to this lawsuit, maintained business operations in Merkel, Texas and Amarillo, Texas.

Defendants fabricated fuel tanks and enclosures/sheds for generators. After obtaining generators

manufactured by third parties, such as Cummins, Inc., Defendants then assembled the final

generator power unit products for delivery to customers. Examples include generator power

units used by hospitals, office buildings and other commercial establishments. Additionally,

Defendants performed other services related to those generator power units such as repair and

replacement    of   certain   parts.       Generator      power    units   and   other   products



                                                                Original Complaint - Page 10 of 20
   Case 2:12-cv-00144-J Document 1 Filed 06/27/12                Page 11 of 20 PageID 11



fabricated/assembled/repaired by Defendants were delivered/provided to customers in Texas and

other states.

        31.     The Plaintiff was employed by Defendants from approximately late 2007 to July

2009, and again from approximately December 2010 to June 2012. Plaintiff worked as a laborer

for Defendants at their SST Merkel, Texas location. Plaintiff’s job duties as a laborer included

assembling, welding, shearing, torching, pipe threading, painting, cleaning and other duties

related to Defendants’ business operations. At all times relevant to this lawsuit, Plaintiff was an

employee of Defendants as defined by the FLSA.

        32.     Defendants attempted to divide Plaintiff’s work into two categories – (1) “on-the-

clock” hourly work, and (2) off-the-clock “contract” work.           Defendants attempted to keep

Plaintiff’s on-the-clock hourly work to no more than 40 hours per workweek. However, the so-

called “contract” work pushed Plaintiff’s hours per workweek well past 40 on a regular basis.

        33.     During the so-called “contract” work, Plaintiff did the same type of work for the

same employer as he did during the “on-the-clock” work. As was the case during “on-the-clock”

work,    Plaintiff   performed   work   related   to   fabricating    generator   fuel   tanks   and

fabricating/assembling generator power units for Defendants during the so-called “contract”

work. Both “contract” work and “on-the-clock” work were performed on the premises of SST.

        34.     For example, Plaintiff would typically work “on-the-clock” Mondays through

Thursdays from 7:00 am to 5:30 pm, with a 30 minute lunch break each day. That “on the

clock” work generally equaled 40 hours per week and Plaintiff was paid an hourly rate of pay for

that work. However, during many workweeks, Defendants would then assign Plaintiff so-called

“contract” work outside of his “on-the-clock” work period.           For example, Plaintiff would

frequently work significant hours after 5:30 pm on Mondays through Thursdays, and would work



                                                              Original Complaint - Page 11 of 20
    Case 2:12-cv-00144-J Document 1 Filed 06/27/12             Page 12 of 20 PageID 12



significant hours on Fridays, Saturdays and Sundays for Defendants during the so-called

“contract” work period. For “contract” work, Defendants paid a flat rate that was divided by the

number of employees performing the “contract” work regardless of the number of hours worked

by those employees. That “contract” work involved the same job duties related to the ongoing

business purpose of Defendants – fabricating fuel tanks, enclosures and related work regarding

generator power units. The only material difference in the work performed by Plaintiff for “on-

the-clock” laborer work for Defendants as opposed to “contract” laborer work for Defendants

was the manner in which Plaintiff was paid.

        35.    Despite regularly working in excess of 40 hours per workweek as an employee of

Defendants, Plaintiff was not paid overtime compensation as required by the FLSA for each and

every such workweek. Plaintiff seeks recovery of unpaid overtime back wages, liquidated

damages, legal fees and costs in this lawsuit.

        36.    Defendants had a widespread policy/practice to avoid paying Plaintiff overtime

wages by arbitrarily and unlawfully dividing his work period into “on-the-clock” work hours and

“contract” work hours. That widespread policy/practice was in violation of the FLSA overtime

wage requirements. It is no coincidence that Plaintiff’s “on-the-clock” hours ended at no more

than 40 hours per workweek. By then having Plaintiff do his same primary job duties related to

Defendants’ ongoing business purpose as “contract” work, Defendants unlawfully and willfully

attempted to avoid paying FLSA mandated overtime compensation to Plaintiff. As Plaintiff

frequently worked in excess of 80 hours a workweek when doing “on-the-clock” work in

addition to “contract” work, Defendants failed to pay significant overtime wages that were due

Plaintiff.




                                                            Original Complaint - Page 12 of 20
   Case 2:12-cv-00144-J Document 1 Filed 06/27/12               Page 13 of 20 PageID 13



       37.     At all times relevant to this lawsuit, Defendants employed, and continue to

employ, several employees that are similarly situated to Plaintiff. Defendants typically employ

an approximate total of seven laborers at any given time in their business operations, and those

employees are similarly situated to Plaintiff with regards to compensation method, primary job

duties, exemption status, work schedules and typical hours worked. The putative class members

were, like Plaintiff, the victims of a common widespread policy/practice of Defendants to deny

them FLSA mandated overtime pay as described in more detail in Paragraphs 32-36 above.

       38.     Plaintiff and similarly situated employees worked on the production side of the

business with the primary duties of laborers.       Those duties include assembling, welding,

shearing, torching, pipe threading, painting, cleaning and other duties related to Defendants’

metal fabrication generator power unit business. Plaintiff and similarly situated employees

engaged in commerce in the performance of their primary duties. Examples include the use of

tools, raw materials, equipment and goods supplied, manufactured and/or distributed in interstate

commerce.      Furthermore, Plaintiff and similarly situated employees assisted in the

fabrication/manufacturing/assembling of goods produced/manufactured by Defendants which

were delivered to customers and/or locations outside the state of Texas.

       39.     Like Plaintiff, the members of the putative class were not paid overtime

compensation for all hours worked over 40 in each and every workweek. Therefore, Defendants

failed to comply with the FLSA because they did not pay Plaintiff and similarly situated

employees overtime wages for each hour worked over 40 for each and every workweek.

Plaintiff and the putative collective action members seek FLSA back pay, liquidated damages,

costs and legal fees for Defendants’ failure to pay overtime wages from June 27, 2009 forward.




                                                              Original Complaint - Page 13 of 20
      Case 2:12-cv-00144-J Document 1 Filed 06/27/12              Page 14 of 20 PageID 14



                 B.     History of Superior Systems & Technologies, L.L.P.

           40.   On information and belief, Defendant Shank created and entity doing business as

“Superior Systems & Technologies, LTD” and attempted to form that entity as a Texas limited

liability partnership on April 4, 2005.13 At that time, the limited liability partnership had one

general partner, presumably Shank, and the principal business was listed as “metal fabrication.”14

The principal office location was listed as 7201 I-40 West, Suite 100, Amarillo, Texas 79106.15

           41.   Sometime thereafter, but on or prior to May 29, 2008, that purported limited

liability partnership doing business as Superior Systems & Technologies, LTD expanded to

include two partners according to renewal paperwork filed with the Texas Secretary of State.16

One of those partners was Shank.17 The other partner is currently unknown, but is believed to be

either Peacock or Dietrich. That May 29, 2008 renewal paperwork identified the principal




13
   Exhibit C – April 4, 2005 Form 701 Registration of a Limited Liability Partnership for
Superior Systems & Technologies, LTD filed with the Texas Secretary of State. Although Form
701 and state law requirements for the proper creation of a Texas limited liability partnership
require the use of the phrase “limited liability partnership” or “registered limited liability
partnership” or the abbreviation “LLP” or “L.L.P.” in the name of the entity, Rodney Shank
created this entity with the abbreviation “LTD.” This defective formation failed to create a
Texas limited liability partnership. As such, individual partners are not shielded from individual
liability for the SST business entity during the relevant time period that the SST entity was doing
business as Superior Systems & Technologies, LTD.
14
     Id.
15
     Id.
16
   Exhibit D – May 29, 2008 Renewal of Registration of a Limited Liability Partnership for
Superior Systems & Technologies, LTD filed with the Texas Secretary of State. Like the April
4, 2005 filing, the name of this entity was also defective and not in compliance with Texas law
for the proper creation of a limited liability company. As such, individual partners are not
shielded from individual liability for the SST business entity during the relevant time period that
the SST entity was doing business as Superior Systems & Technologies, LTD.
17
     Id.
                                                               Original Complaint - Page 14 of 20
      Case 2:12-cv-00144-J Document 1 Filed 06/27/12            Page 15 of 20 PageID 15



business as “metal fabrication” and the principal office as 7201 I-40 West, Suite 100, Amarillo,

Texas 79106.18

           42.   On September 14, 2009, Shank filed a Registration of a Limited Liability

Partnership with the Texas Secretary of State forming an entity known as “Superior Systems &

Technologies, LLP.”19 Like the previous filings for Superior Systems & Technologies, LTD,

this filing lists two partners, one of which was Shank.20 The other partner is currently unknown,

but is believed to be either Peacock or Dietrich. The principal business listed in that September

14, 2009 filing is “metal fabrication” and the principal office location is listed as 7410 Golden

Pond, Suite 300, Amarillo, Texas 79121.21

           43.   On October 13, 2010, Peacock and Dietrich filed a Registration of a Limited

Liability Partnership with the Texas Secretary of State for an entity referred to as “Superior

Systems & Technologies, L.L.P.”22 That filing lists three partners, but identifies only two of

them by name - Peacock and Dietrich.23 On information and belief, the third partner who is not

identified by name in that filing is Shank. The principal office address listed in that filing was

274 County Road 287, Merkel, Texas 79536.24

           44.   Superior Systems & Technologies, L.L.P. and Superior Systems & Technologies,

LTD are the same business enterprise/business operation as Superior Systems & Technologies,


18
     Id.
19
  Exhibit E – September 14, 2009 Form 701 Registration of a Limited Liability Partnership for
“Superior Systems & Technologies, LLP” filed with the Texas Secretary of State.
20
     Id.
21
     Id.
22
  Exhibit A – October 13, 2010 Form 701 Registration of a Limited Liability Partnership for
“Superior Systems & Technologies, L.L.P.” filed with the Texas Secretary of State.
23
     Id.
24
     Id.
                                                              Original Complaint - Page 15 of 20
   Case 2:12-cv-00144-J Document 1 Filed 06/27/12                  Page 16 of 20 PageID 16



LLP. During all times relevant to this lawsuit, that entity which has gone by three different

names is the same entity which has employed Plaintiff and the putative class members in the

metal fabrication generator power unit business identified in Paragraph 30 above.

       IV.     CONTROLLING LEGAL RULES

       45.     The FLSA generally requires that an employer employing an employee for a

workweek exceeding 40 hours must compensate the employee for hours worked over 40 “at a

rate not less than one and one-half times the regular rate of pay.” 29 U.S.C. § 207(a)(1).

       46.     Failing to pay the required overtime premium for hours worked over 40 in a

workweek is a violation of the FLSA.

       47.     The FLSA defines the “regular rate” as including “all remuneration for

employment paid to, or on behalf of, the employee … .” 29 U.S.C. § 207(e).

       48.     “Work” is not defined by the FLSA, but has been interpreted to mean “all time

during which an employee is necessarily required to be on the employer’s premises.” Anderson

v. Mt. Clemens Pottery Co., 328 U.S. 680, 690-91 (1946).

       49.     “Workday” means “the period between the commencement and completion on the

same workday of an employee’s principal activity or activities.” 29 C.F.R. § 790.6(a). Principal

activities include “all activities which are an integral and indispensable part of the principal

activities.” Steiner v. Mitchell, 350 U.S. 247, 252-53 (1956).

       50.     Individual officers and managers of a business entity can be considered employers

under the FLSA in addition to the corporate entity. See Donovan v. Grim Hotel Co., 747 F.2d

966, 972 (5th Cir.1984) (“The overwhelming weight of authority is that a corporate officer with

operational control of a corporation's covered enterprise is an employer along with the

corporation, jointly and severally liable under the FLSA for unpaid wages"); Grim Hotel Co.,

747 at 971 (quoting Falk v. Brennan, 414 U.S. 190, 195, 94 S. Ct. 427, 38 L. Ed. 2d 406 (1973))
                                                                 Original Complaint - Page 16 of 20
   Case 2:12-cv-00144-J Document 1 Filed 06/27/12                   Page 17 of 20 PageID 17



(“The definition of "employer" under the FLSA is "expansive," extending liability for persons

with "managerial responsibilities" and "substantial control of the terms and conditions of the

[employee's] work.").

          51.   In order for a limited liability partnership to lawfully be created in Texas, the

name of the entity must contain one of the following: “limited liability partnership” or an

abbreviation of that phrase (i.e. L.L.P. or LLP). Tex. Bus. Orgs. Code §§ 5.063(a), 152.802(a),

152.803.

          V.    FLSA CLAIM FOR OVERTIME PAY

          52.   This action is authorized and instituted pursuant to the FLSA. 29 U.S.C. § 201, et

seq.

          53.   All conditions precedent to this suit, if any, have been fulfilled.

          54.   At all material times, Plaintiff and the putative collective action members

are/were employees under the FLSA. 29 U.S.C. § 203(e).

          55.   At all material times, the putative collective action members are/were similarly

situated to the Plaintiff and to each other and are/were employees under the FLSA. 29 U.S.C. §

203(e).

          56.   Defendants meet the definition of eligible and covered employers/joint employers

under the FLSA. 29 U.S.C. § 203(d). The specific time periods for which employer status is

claimed as to each Defendant are identified in Paragraphs 8-25 above.

          57.   At all material times, Plaintiff and the putative collective action members

regularly worked in excess of 40 hours per seven-day workweek. Both “on-the-clock” work and

“contract” work for Defendants collectively constitute “work” pursuant to the FLSA for purposes

of calculating the number of hours worked per workweek. Furthermore, on days that Plaintiff

and putative class members performed both “on-the-clock” work and “contract” work for
                                                                 Original Complaint - Page 17 of 20
   Case 2:12-cv-00144-J Document 1 Filed 06/27/12               Page 18 of 20 PageID 18



Defendants, both categories of “work” fall under the continuous “workday” rule for purposes of

calculating the number of hours worked per workweek.

       58.     At all material times, Plaintiff and the putative collective action members were

not paid on a “salary basis.” Plaintiff and the putative collective action members were not

“exempt” from the FLSA overtime wage laws as a result of their compensation method.

       59.     At all material times, the primary duties of Plaintiff and the putative collection

action members do not meet the “duties test” for any FLSA exemption. Plaintiff and the putative

collective action members were not “exempt” from the FLSA overtime wage laws based on their

primary duties.

       60.     At all material times, Plaintiff and the putative collective action members were

and are entitled to overtime compensation at one and one-half times the regular rate of pay. 29

U.S.C. § 207(a)(1).

       61.     Defendants failed to pay Plaintiff and putative collective action members

overtime compensation for all hours worked over 40 in a seven-day workweek.

       62.     Defendants’ violations of the FLSA was and remains willful within the meaning

of 29 U.S.C. § 255(a). See Singer v. City of Waco, 324 F.3d 813, 821-22 (5th Cir. 2003)

(upholding a jury finding of willfulness).

       63.     Defendants have not made a good faith effort to comply with the requirements of

29 U.S.C. § 260. Accordingly, Plaintiff and the putative collective action members are entitled

to liquidated damages.

       64.     Where, as here, “the employer’s actions or policies were effectuated on a

companywide basis, notice may be sent to all similarly situated persons on a companywide




                                                             Original Complaint - Page 18 of 20
   Case 2:12-cv-00144-J Document 1 Filed 06/27/12                  Page 19 of 20 PageID 19



basis.”    Ryan v. Staff Care, Inc., 497 F. Supp. 2d 820, 825 (N.D. Tex. 2007) (certifying

nationwide collective action in FLSA case).

          65.    Accordingly, Plaintiff seeks to represent a collective action under 29 U.S.C. §

216(b) on behalf of “all current and former laborers who are/were employed by Defendants and

who were not paid overtime compensation for hours worked over 40 in any workweek from June

27, 2009 forward.”

          66.    Plaintiff hereby consents to sue for violations of the FLSA, pursuant to 29 U.S.C.

§§ 207, 216(b) and 256.

          VI.    JURY DEMAND

          67.    Plaintiff demands a jury trial.

          VII.   DAMAGES AND PRAYER

          68.    Plaintiff asks that the Court issue a summons for Defendants to appear and

answer, and that Plaintiff and those persons similarly situated to Plaintiff be awarded a judgment

against Defendants for the following:

                 a.     Actual damages in the amount of unpaid overtime back wages;

                 b.     Liquidated damages under the FLSA;

                 c.     Pre-judgment and post-judgment interest;

                 d.     Court costs;

                 e.     Reasonable attorney’s fees; and

                 f.     All other relief to which Plaintiff and those similarly situated to Plaintiff
                        are entitled.




                                                                Original Complaint - Page 19 of 20
Case 2:12-cv-00144-J Document 1 Filed 06/27/12     Page 20 of 20 PageID 20



                                      Respectfully submitted,

                                      BARON & BUDD, P.C.


                                      By:    s/Allen R. Vaught
                                             Allen R. Vaught
                                             Baron & Budd, P.C.
                                             State Bar No. 24004966
                                             3102 Oak Lawn Avenue, Suite 1100
                                             Dallas, Texas 75219
                                             (214) 521-3605 – Telephone
                                             (214) 520-1181 – Facsimile
                                             avaught@baronbudd.com

                                      ATTORNEYS FOR PLAINTIFF




                                                 Original Complaint - Page 20 of 20
